991 F.2d 811
    NOTICE: Federal Circuit Local Rule 47.8(b) states that opinions and orders which are designated as not citable as precedent shall not be employed or cited as precedent.  This does not preclude assertion of issues of claim preclusion, issue preclusion, judicial estoppel, law of the case or the like based on a decision of the Court rendered in a nonprecedential opinion or order.Samuel Houston HARRIS, Claimant-Appellant,v.Jesse BROWN, Secretary of Veterans Affairs, Respondent-Appellee.
    No. 93-7009.
    United States Court of Appeals, Federal Circuit.
    March 22, 1993.
    
      Before ARCHER, Circuit Judge, FRIEDMAN, Senior Circuit Judge, and MICHEL, Circuit Judge.
      ON MOTION
      MICHEL, Circuit Judge.
    
    ORDER
    
      1
      The Secretary of Veterans Affairs moves to waive the requirements of Fed.Cir.R. 27(d) and to dismiss Samuel Houston Harris's appeal for lack of jurisdiction and moves for leave to exceed the page limit of his motion by five pages.   Harris has not filed a response.
    
    
      2
      Harris seeks review of a decision of the United States Court of Veterans Appeals summarily affirming the Board of Veterans Appeals' decision that denied Harris's claim of service connection for cancer of the colon and stomach.   Harris challenges only the factual determination that his medical condition is not service connected, or the application of a law or regulation to his claim.   No issue is raised that falls within the limited jurisdiction of this court under 38 U.S.C.A. §§ 7292(c), (d)(1)-(2) (West 1991).   See Livingston v. Derwinski, 959 F.2d 224 (Fed.Cir.1992).
    
    
      3
      Accordingly,
    
    IT IS ORDERED THAT:
    
      4
      (1) The Secretary's motion to waive the requirements of Fed.Cir.R. 27(d) is granted.
    
    
      5
      (2) The Secretary's motion to dismiss is granted.
    
    
      6
      (3) The Secretary's motion for leave to exceed the page limit by five pages is granted.
    
    
      7
      (4) Each side shall bear its own costs.
    
    
      8
      (5) The revised official caption is reflected above.
    
    